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Municipality of Anchorage

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ALASKA

David Paul Biesemeyer                    )
                                         )
                    Plaintiff,           )
                                         )
vs.                                      )
                                         )
Municipality of Anchorage,               )
                                         )
                    Defendant.           )
                                         ) Case No. 3:23-cv-00185 SLG

      REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S SECOND
                        MOTION TO DISMISS


      COMES NOW, the Defendant, the Municipality of Anchorage, by and through the

undersigned, and enters its reply to the Plaintiff’s Opposition to the Defendant’s Motion

to Dismiss.

      EQUITABLE TOLLING DOES NOT SAVE THE PLAINTIFF’S CLAIMS

      The Plaintiff has not plead plausible facts to support equitable tolling under Alaska

law. Alaska courts had not adopted or rejected adding extraordinary circumstances to the



      Case 3:23-cv-00185-SLG-KFR Document 15 Filed 06/18/24 Page 1 of 5
doctrine of equitable tolling. Richardson v. Mun. of Anchorage, 360 P.3d 79, 85 (Alaska

2015). In deciding if the Alaska Supreme Court would likely adopt such an expansion in

this instance, the court should look to the very high bar for tolling in Richardson, “[t]he

plaintiff must have been kept from the courts by legal barriers or by truly extraordinary

events, like wars.” Richardson ft. nt. 38. The plead facts, if accepted as true, plead

nothing more than engaging with out-of-state counsel. This does not meet the high bar

such as wars or legal barriers. The Plaintiff had full ability to seek in-state counsel to

pursue his claims in state court before the statute of limitations had run.

       But even if such tolling would be appropriate in this situation, the tolling is not

long enough to save this case. The Plaintiff has produced zero correspondence from this

alleged out-of-state lawyer but has stated that his relationship with this person ended in

2020 at the latest. This tolling, if allowed, does not toll the case long enough to allow his

claims to survive because he waited later than two years from the end of 2020 to file his

case. Thus, the two-year statute of limitations applicable in this case bars this action

outright.

            THIS COURT SHOULD NOT CONSIDER QUASI-ESTOPPEL

       Quasi-estoppel has no relation to this case or motion to dismiss. Quasi-estoppel

precludes a party from taking a position inconsistent with one he has previously taken

where circumstances render assertion of the second position unconscionable. Jamison v.

Consol. Utilities, Inc., 576 P.2d 97, 102 (Alaska 1978). “The essence of the doctrine of

quasi-estoppel is the existence of facts and circumstances making the assertion of an

inconsistent position unconscionable.” Id. “The general elements required for the
REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S SECOND MOTION TO DISMISS
Biesemeyer, David v MOA; Case No. 3:23-cv-00185 SLG
Page 2 of 5
      Case 3:23-cv-00185-SLG-KFR Document 15 Filed 06/18/24 Page 2 of 5
application of the doctrine of equitable estoppel are the assertion of a position by conduct

or word, reasonable reliance thereon by another party, and resulting prejudice.” Id. In

Jamison, the court analyzed quasi-estoppel in a circumstance where a utility sought to

deny retroactive benefits to employees after asserting the validity before the Alaska

Public Utilities Commission. Id at 101.

       No facts in the complaint plausibly describe the municipality changing any

position relating to the procedure to claim surplus proceeds from a tax foreclosure sale,

the litigable civil rights issue in this case. Therefore, this equitable remedy should be

denied.

 ATTACHMENTS SHOW DEFENDANT FOLLOWED STATE LAW PROCEDURE

       The attachments provided by the Plaintiff and incorporated into his opposition do

not prove any viable claim for which relief can be granted. The collection of documents

attached are frivolous filings, documents regarding a lawyer being disbarred, unclaimed

property with the court system, including a case from 2000 (3AN-00-00987), that have

nothing to do with this case or the Defendant, and most importantly, an easy-to-fill-out

letter from the Defendant the Plaintiff to claim the proceeds from the sale of his property.

[Doc 12-5].

       Instead of filling out the form with his social security number and getting it

notarized, he sent a frivolous document back and did not present a valid claim. [Doc. 12-

6]. These documents do not prove that any constitutional violation occurred. Instead, he

was given notice and did not submit a valid claim but instead sent frivolous filings back

to the Defendant.
REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S SECOND MOTION TO DISMISS
Biesemeyer, David v MOA; Case No. 3:23-cv-00185 SLG
Page 3 of 5
      Case 3:23-cv-00185-SLG-KFR Document 15 Filed 06/18/24 Page 3 of 5
                                       CONCLUSION

       This is the second time the Plaintiff has been allowed to amend his complaint, and

he has failed to state a claim upon which relief should be granted. Any third amendment

would be futile in light of a lack of constitutional violation, statute of limitation bar, and

lack of Monell liability. Therefore, this case should be dismissed with prejudice.



              Respectfully submitted this 18th day of June, 2024.


                                            ANNE R. HELZER
                                            Municipal Attorney

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Certificate of Service
The undersigned hereby certifies that on 6/18/24, a
true and correct copy of the foregoing was served on:

David Biesemeyer
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REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S SECOND MOTION TO DISMISS
Biesemeyer, David v MOA; Case No. 3:23-cv-00185 SLG
Page 4 of 5
      Case 3:23-cv-00185-SLG-KFR Document 15 Filed 06/18/24 Page 4 of 5
by first class regular mail, if noted above, or by electronic
means through the ECF system as indicated on the Notice
of Electronic Filing.

/s Jason A. Thomas
Municipal Attorney’s Office




REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S SECOND MOTION TO DISMISS
Biesemeyer, David v MOA; Case No. 3:23-cv-00185 SLG
Page 5 of 5
      Case 3:23-cv-00185-SLG-KFR Document 15 Filed 06/18/24 Page 5 of 5
